                                                                                CLERK'S OFFICE U.S. DIST. COURT
                                                                                          AT ROANOKE, VA
                          IN THE UNITED STATES DISTRICT COURT                                  FILED
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION                                       NOV 05 2018
                                                                                    ~~:uu~-!Jf. ~RK
  PRINCESS BROWNFIELD,                               Civil Action No. 7:18-cv-00236
                                                                                   ~~RK--
                                                                                       ERK
       Plaintiff,
                                                     MEMORANDUM OPINION
  v.
                                                     By: Michael F. Urbanski
  FLUVANNA CORRECTIONAL CENTER                       Chief United States District Judge
  FOR WOMEN, et al,
         Defendant(s),


         Plaintiff, proceeding pro se, filed a civil rights complaint, pursuant to 42 U.S.C. § 1983.

  By Order entered 9/27/2018, the court directed plaintiff to submit within 10 days from the date

  of the Order the full filing fee or otherwise respond because it had come to the attention of the

  court that plaintiff was no longer an inmate, and no longer subject to the provisoin ofthe

  Prisoner Litigation Reform Act. Plaintiff was advised that a failure to comply would result in

  dismissal of this action without prejudice.

          More than 10 days have elapsed, and plaintiff has failed to comply with the described

  conditions. Accordingly, the court dismisses the action without prejudice and strikes the case

  from the active docket of the court. Plaintiff may refile the claims in a separate action once

  plaintiff is prepared to comply with the noted conditions.

          The Clerk is directed to send a copy of this Memorandum Opinion and accompanying

  Order to plaintiff.
                          ,_,_ 1/        f\h;~b~r
          ENTER: This ~ayo~,2018.

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                                                        Chief    1   ..States District Judge




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